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                                                                                            U.S. DISTRICT COURT
                                                                                                N.D. OF ALABAMA


                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ALABAMA
                            SOUTHERN DIVISION

DANIEL CARR, et al.,                              )
                                                  )
         Plaintiffs,                              )
                                                  )
v.                                                )   Case No. 2:18-cv-01373-JEO
                                                  )
HARALSON TERMITE & PEST                           )
CONTROL, INC., et al.                             )
                                                  )
         Defendants.                              )


                       MEMORANDUM OPINION AND ORDER

         On April 6, 2018, Plaintiffs Daniel Carr, Christiana Carr and Patricia A.

Cooper filed a complaint in the Circuit Court of Jefferson County, Alabama,

against Defendants Haralson Termite & Pest Control, Inc. (“Haralson”) and Joel

Mike Clark.1 (Doc. 1-20). The complaint contains claims for (1) fraudulent

misrepresentation/suppression, including promissory fraud, (2) negligence,

recklessness and negligence per se, (3) negligent hiring, training, supervision and

retention, and (4) breach of contract.2 (Id. ¶¶ 50-81). The complaint also purports

to state a claim for “equitable relief pursuant to the ‘made whole’ doctrine.” (Id. ¶

82-90).

1
    The complaint also names 10 fictitious defendants. (Doc. 1-20).
2
 The complaint states a count for “tolling of statute of limitations.” (Doc. 1-20 ¶¶ 91-92). This
count is not a claim but a legal argument.
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         On August 27, 2018, Defendants properly removed the complaint to this

court3 based on diversity jurisdiction. 4           (Doc. 1).     Upon examination of the

removal documents, the court determined Defendants had filed in state court a

partial motion to dismiss contained within their answer and it had not been

decided. (Doc. 1-21). That motion is now before the court, is fully briefed, (docs.

6, 7, 11), and is ripe for decision. For the reasons that follow, the motion is due to

be granted, but the court will allow Plaintiffs the opportunity to amend their fraud

claim.

I.       LEGAL STANDARDS

         The Federal Rules of Civil Procedure require that a complaint provide “a

short and plain statement of the claim showing that the pleader is entitled to relief.”

Fed. R. Civ. P. 8(a)(2). However, the complaint must include enough facts “to

raise a right to relief above the speculative level.” Bell Atl. Corp. v. Twombly, 550

U.S. 544, 555 (2007). Pleadings that contain nothing more than “a formulaic

recitation of the elements of a cause of action” do not meet Rule 8 standards, nor

do pleadings suffice that are based merely upon “labels and conclusions” or “naked

assertion[s]” without supporting factual allegations. Id. at 555, 557. In deciding a

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  The action was originally assigned to the undersigned United States Magistrate Judge pursuant
to 28 U.S.C. § 636(b) and the court’s general order of reference dated January 2, 2015. The
parties have since consented to an exercise of plenary jurisdiction by a magistrate judge pursuant
to 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73. (Doc. 9).
4
  The citizenship of the fictitious defendants is disregarded in determining diversity jurisdiction
for removal purposes. 28 U.S.C. § 1441(b)(1).
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Rule 12(b)(6) motion to dismiss, courts view the allegations in the complaint in the

light most favorable to the non-moving party. Watts v. Fla. Int’l Univ., 495 F.3d

1289, 1295 (11th Cir. 2007).

      To survive a motion to dismiss, a complaint must “state a claim to relief that

is plausible on its face.”     Twombly, 550 U.S. at 570. “A claim has facial

plausibility when the plaintiff pleads factual content that allows the court to draw

the reasonable inference that the defendant is liable for the misconduct alleged.”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Although “[t]he plausibility standard

is not akin to a ‘probability requirement,’” the complaint must demonstrate “more

than a sheer possibility that a defendant has acted unlawfully.” Id. A plausible

claim for relief requires “enough fact[s] to raise a reasonable expectation that

discovery will reveal evidence” to support the claim. Twombly, 550 U.S. at 556.

      In considering a motion to dismiss, a court should “1) eliminate any

allegations in the complaint that are merely legal conclusions; and 2) where there

are well-pleaded factual allegations, ‘assume their veracity and then determine

whether they plausibly give rise to an entitlement to relief.’” Kivisto v. Miller,

Canfield, Paddock & Stone, PLC, 413 F. App’x 136, 138 (11th Cir. 2011) (quoting

Am. Dental Ass’n v. Cigna Corp., 605 F.3d 1283, 1290 (11th Cir. 2010)). That

task is context specific and, to survive the motion, the allegations must permit the

court based on its “judicial experience and common sense . . . to infer more than


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the mere possibility of misconduct.”              Iqbal, 556 U.S. at 679.           If the court

determines that all of the well-pleaded facts, accepted as true, do not state a claim

that is plausible, the claims are due to be dismissed. Twombly, 550 U.S. at 570.

       The statute of limitations is an affirmative defense, and the burden of

proving an affirmative defense is on the defendant. Tello v. Dean Witter Reynolds,

Inc., 410 F.3d 1275, 1292 (11th Cir. 2005). A plaintiff is not required to anticipate

and negate an affirmative defense in the complaint. La Grasta v. First Union Sec.,

Inc., 358 F.3d 840, 845 (11th Cir. 2004). A Rule 12(b)(6) motion to dismiss on

statute of limitations grounds may be granted, however, if it is apparent from the

face of the complaint that the claim is time-barred. Id. at 845-46. Nonetheless, a

motion to dismiss on statute of limitations grounds should not be granted where

resolution depends either on facts not yet in evidence or on construing factual

ambiguities in the complaint in defendants’ favor.                 Omar ex rel. Cannon v.

Lindsey, 334 F.3d 1246, 1252 (11th Cir. 2003).

II.    STATEMENT OF FACTS 5

       On or about June 3, 2012, Haralson issued a pre-sale inspection report on a

property located in Trussville, Alabama. (Doc. 1-20 ¶ 10). The report stated that

there were signs of previous subterranean termites, but did not disclose the full

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  The facts recited are based upon the factual allegations of the complaint, which, consistent with
the applicable standard of review, are taken as true, drawing all reasonable inferences in
Plaintiff’s favor. Thus, these are the facts for the purposes of the motion only; they may not be
the actual facts.
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existence of the prior infestation or presence of termites. (Id.). The report also did

not disclose the presence of wood decaying fungi, wood rot and the presence of

wood to ground contacts conducive to termite infestation. (Id.).

      On July 13, 2012, Haralson performed a “defined zone treatment” on the

property, but the treatment was deficient. (Id. ¶ 11). Additionally, Haralson issued

a “Wood Destroying Organism Control Service Agreement” on the property

(“termite bond”). (Id.). Defendants represented the home was free from any

evidence of previous or active infestations of wood destroying organisms including

subterranean termites and fungus and that the “defined treatment zone” was

performed in accordance with the regulations and the label. (Id. ¶ 26). Both the

treatment and termite bond fell below standards because of the failure to note the

termite and wood decaying fungi problems. (Id.).

      On December 19, 2012, Plaintiffs purchased the property, in reliance on the

pre-sale inspection report performed by Defendants. (Id. ¶¶ 10, 12). At the

closing, Plaintiffs called Haralson and Clark, who told Plaintiffs the home did not

have any visible termite damage or activity. (Id. ¶ 12). Plaintiffs discovered the

damage “shortly after moving into the home.” (Id. ¶ 18). Although Defendants

had a duty to inspect the home on at least an annual basis for new signs of

subterranean termite infestation, Defendants failed to inspect and identify

deficiencies before the expiration of the termite bond. (Id. ¶ 38).


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         Plaintiffs allege a “consistent and repeated pattern and practice[] of the

Defendants to fail to make complete, proper and adequate inspections and to fail to

apply immunizations from termites by following proper service protocol for

termite prevention. . . .” (Id. ¶ 43). They further allege concealment of “facts in

connection with [Haralson’s] inspections and treatments from Plaintiffs and other

similarly situated customers in the face of a duty to do so based on Defendants’

special knowledge and the ongoing nature of the processional services at issue.”

(Id.). Plaintiffs contend “Defendants have created a scheme/system which has

encouraged and led to widespread negligence, recklessness, wantonness, fraud and

deception in the rendition of structural pest control services.” (Id. ¶ 46). “Until

less than two (2) years ago,” Plaintiffs state they were “unaware of the Defendants’

patterns and practices of wrongdoing, and the schemes mentioned above.” (Id. ¶¶

48, 92).

III.     DISCUSSION

         Defendants argue Plaintiffs’ fraud and negligence6 claims are due to be

dismissed pursuant to the statute of limitations. (Doc. 6 at 4-9). Additionally,

Defendants argue Plaintiffs have failed to state a claim sufficient to invoke equity

jurisdiction.      (Id. at 9-10).      As such, Defendants contend all claims except

Plaintiffs’ claim for breach of contract are due to be dismissed. (Id.). Plaintiffs


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    The negligence claims include all claims contained in counts 2 and 3 of the complaint.
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argue the statute of limitations should be tolled on their negligence and fraud

claims, and that any decision regarding the “made whole” equitable claim is not

ripe. (Doc. 7 at 3-9). The court first addresses Plaintiffs’ negligence and fraud

claims and then moves to their claim for equitable relief.

      A. Dismissal of negligence and fraud claims under the applicable
      statutes of limitations.

      When federal jurisdiction is founded upon diversity of citizenship, the law of

the forum state provides the appropriate statute of limitations. Raie v. Cheminova,

Inc., 336 F.3d 1278, 1280 (11th Cir. 2003). The parties agree that all of the claims

challenged by Defendants are governed by a two-year statute of limitations under

Alabama law. (See Docs. 6 & 7). Alabama law determines when the applicable

statute of limitations begins to run, but federal law provides the legal standard to

determine if defendants are entitled to dismissal. Bernard Schoninger Shopping

Ctrs., Ltd. v. J.P.S. Elastomerics, Corp., 102 F.3d 1173, 1177 (11th Cir. 1997).

             1. Negligence Claims (Counts 2 and 3)

      Causes of action for negligence accrue “on the date of the injury or damage,

and not upon the occurrence of the negligence itself, or the last known negligent

act.” Rumford v. Valley Pest Control, Inc., 629 So. 2d 623, 627 (Ala. 1993)

(citations and quotations omitted). Defendants argue Plaintiffs’ negligence claims

accrued on or before December 19, 2012, and are, therefore, time-barred under the

two year statute of limitations. (Doc. 6 at 5). The court agrees.
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       According to the complaint, Defendants completed the pre-inspection report

on July 3, 2012, performed a “defined zone treatment” on July 13, 2012, and

issued a termite bond on July 13, 2012. (Doc. 1-21 ¶¶ 10-11). Further, Plaintiffs

allege that on December 19, 2012, Defendants represented that the property did not

have any visible termite damage or activity. (Id. ¶ 12). As such, any negligence

on behalf of Haralson or one of its employees occurred on or before December 19,

2012. Plaintiffs did not file their complaint until April 16, 2018. The two-year

statute of limitations ran as of December 19, 2014, on Plaintiffs’ claims based on

negligence, recklessness, negligence per se, negligent hiring, training supervision

and retention. Those claims are, therefore, due to be dismissed. 7

               2. Fraud Claim (Count 1)

       Causes of action for fraud do not accrue “until the discovery by the

aggrieved party of the fact constituting the fraud.” Ala. Code § 6–2–3. Section 6-

2-3 of the Alabama Code tolls the statute of limitations for causes of action that

were fraudulently concealed from the aggrieved party. DGB, LLC v. Hinds, 55 So.

3d 218, 224 (Ala. 2010). More specifically, Alabama law tolls the limitations

period for a cause of action until the plaintiff actually discovered the fraud or


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  While the court recognizes that “because § 6–2–3 applies to the fraudulent concealment of the
existence of a cause of action, if the [plaintiffs] have sufficiently alleged the fraudulent
concealment of their claims, § 6–2–3 may apply even to their non-fraud claims,” DGB, LLC v.
Hinds, 55 So. 3d 218, 225-26 (Ala. 2010), for the reasons that follow, § 6-2-3 does not save their
fraud claims. Even if Plaintiffs amend their complaint to adequately state a cause of action for
fraud, the negligence allegations in the complaint do not allow for tolling under § 6-2-3.
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discovered facts that would alert a reasonable person to the possibility of fraud.

Wheeler v. George, 39 So. 3d 1061, 1081 (Ala. 2009); Ex parte Am. Gen. Fin.,

Inc., 795 So. 2d 685, 689 (Ala. 2000).

      To toll the limitations period for a cause of action under Alabama Code § 6-

2-3, a plaintiff must allege (1) “the time and circumstances of the discovery of the

cause of action,” (2) “the facts or circumstances by which the defendants concealed

the cause of action or injury,” and (3) “what prevented the plaintiff from

discovering the facts surrounding the injury.” DGB, 55 So. 3d at 226 (citing Smith

v. Nat’l Sec. Ins. Co., 860 So. 2d 343, 345, 347 (Ala. 2003); Lowe v. East End

Mem’l Hosp. & Health Ctrs., 477 So. 2d 339, 341-42 (Ala. 1985); Angell v.

Shannon, 455 So. 2d 823, 823-24 (Ala. 1984); Miller v. Mobile Cnty. Bd. of

Health, 409 So. 2d 420, 422 (Ala.1981); Amason v. First State Bank of Lineville,

369 So. 2d 547, 551 (Ala. 1979); Papastefan v. B & L Constr. Co., 356 So. 2d 158,

160 (Ala. 1978)). In DGB, the Alabama Supreme Court concluded the plaintiffs

sufficiently alleged the time and circumstances of their discovery when they

alleged that they discovered the causes of action during depositions in another

litigation matter. Id. at 227. The Court also determined the plaintiffs sufficiently

alleged the facts regarding concealment because they alleged that the defendants

knew about misuse of funds and the purchase of a property for half of its sale price

a few days before the transaction at issue, but concealed those facts during the


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transaction.   Id.   Finally, it concluded the plaintiffs sufficiently alleged the

circumstances that prevented them from discovering the fraud because they had

asserted that the defendants controlled the relevant information, the plaintiffs

entrusted the negotiation and execution of the transaction to others, and the

plaintiffs relied on the defendants’ representations about the sale price in lieu of

examining the relevant property records. Id. at 228.

      The question of when a party discovered, or should have discovered, the

fraud is normally a question for the jury.      Kelly, 628 So. 2d at 458 (citing

Vandegrift v. Lagrone, 477 So. 2d 292, 295 (Ala. 1985)). There are times when

this question is removed from the purview of the jury, however. “The question of

when a plaintiff should have discovered fraud should be taken away from the jury

and decided as a matter of law only in cases where the plaintiff actually knew of

facts that would have put a reasonable person on notice of fraud.” Hicks v. Globe

Life & Acc. Ins. Co., 584 So. 2d 458, 463 (Ala. 1991) (emphasis in original).

      Defendants argue the fraud claims are due to be dismissed because Plaintiffs

discovered the termite damage shortly after moving into the property in late

December 2012. As such, Defendants contend the statute of limitations began to

run with that discovery and expired well before Plaintiffs filed the instant

complaint. Plaintiffs respond by arguing that the statute of limitations should be




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tolled because they were not aware of the scheme and/or pattern and practice of

Defendants until less than two years ago.

      The court concludes that Plaintiffs have failed to sufficiently allege that the

limitations period for their claims were tolled.        Specifically, there are no

allegations in the complaint regarding (1) “the time and circumstances of the

discovery of the cause of action,” (2) “the facts or circumstances by which the

defendants concealed the cause of action or injury,” and (3) “what prevented the

plaintiff from discovering the facts surrounding the injury.” DGB, 55 So. 3d at

226; see also Limon v. Sandlin, 200 So. 3d 21, 24-25 (Ala. 2015). The mere fact

that Plaintiffs allege tolling in their complaint and state that they were unaware of

Defendants’ patterns, practices and/or scheme until “less than two years ago” are

conclusory and not entitled to a presumption of truth. See Iqbal, 556 U.S. at 678-

79. “While legal conclusions can provide the framework of a complaint, they must

be supported by factual allegations.” Id. at 679.

      The court is not persuaded by Plaintiffs’ reliance on Limon v. Sandlin.

There, the parents of a minor girl sued her minor boyfriend and his parents for

fraud, negligence, outrage and interference with parental rights after the defendants

took plaintiffs’ daughter on a trip to New York in December 2011, ostensibly for a

pleasure vacation, but in reality to have an abortion without parental consent. 200

So. 2d at 22-23. Upon returning from the trip, the daughter isolated herself from


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her parents, started using drugs, and dropped out of school. Id. at 22. Her parents

did not discover the actual events of the trip until May 2013, and sued in April

2014. Id. The Alabama Supreme Court held that the statute of limitations was

tolled under § 6-2-3 because the complaint adequately alleged the circumstances

that prevented the plaintiffs from discovering the alleged fraudulent concealment

until May 2013. Id. at 25-26. The court emphasized the detail of the pleading of

the failure to discover, pleading of diligence and pleading of the circumstances of

discovery. Id.

      Unlike in Limon, Plaintiffs were aware of the damage shortly after moving

into the property. This information should have provoked inquiry by Plaintiffs

concerning the issue. Yet, there are no allegations in the complaint that Plaintiffs

conducted any inquiry into the pre-sale inspection, “defined treatment zone,” or

termite bond.     There are also no allegations in the complaint detailing the

circumstances of their discovery of the alleged fraud.       Instead, the complaint

makes general allegations regarding a pattern, practice and/or scheme by

Defendants and when Plaintiffs discovered this alleged fraud. Such allegations are

insufficient to invoke tolling under § 6-2-3, and Plaintiff’s fraud claims are barred

by the statute of limitations.

      Although Plaintiffs do not ask to amend their complaint, under Federal Rule

of Civil Procedure 15(a)(2), the “court should freely give leave [to amend] when


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justice so requires.” Further, when “a more carefully drafted complaint might state

a claim, a plaintiff must be given at least one chance to amend the complaint

before the district court dismisses the action with prejudice.” Bryant v. Dupree,

252 F.3d 1161, 1163 (11th Cir. 2001) (citation omitted)). The court will allow

Plaintiffs the opportunity to amend their complaint to adequately plead their fraud

claim.

         B. Dismissal of the claim for equitable relief under the “made whole”
         doctrine

         Plaintiffs contend in their complaint that if they prevail, but are not “made

whole” by any monetary damages awarded, the court in equity should “step in to

make Plaintiffs whole.” 8 (Doc. 1-20 ¶ 90). Defendants allege this claim is due to

be dismissed and the court agrees.

8
    In Cagle v. Bruner, the Eleventh Circuit described the make whole doctrine as follows:

         Under the make whole doctrine, “an insured who has settled with a third-party
         tortfeasor is liable to the insurer-subrogee only for the excess received over the
         total amount of his loss.” Guy [v. Southeastern Iron Workers’ Welfare Fund], 877
         F.2d [37 at] 39 [(11th 1990)]. See also 16 Couch on Insurance § 61:64 (2d ed.
         1983) (if an insurer pays less than the insured’s total loss, the insurer cannot
         exercise a right of reimbursement or subrogation until the insured’s entire loss has
         been compensated). State courts generally treat the make whole doctrine as a
         default rule that is read into insurance contracts, except where it is explicitly
         excluded. See Fields v. Farmers Ins. Co., 18 F.3d 831, 835-36 (10th Cir. 1994)
         (diversity case listing states that apply the make whole doctrine as a default rule).

112 F.3d 1510, 1520-21 (11th Cir. 1997). Additionally, in Alves v. Silverado Foods, Inc., the
Tenth Circuit stated:

         “The Make Whole doctrine is a creature of equitable insurance law and is
         generally stated as:


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      First, the “made whole” doctrine is not a cause of action under Alabama law.

Instead it is a principle of damages where if money cannot adequately compensate

a Plaintiff, the court may be able to award equitable damages to the Plaintiff. See

Tiger Motor Co. v. McMurtry, 224 So. 2d 638 (Ala. 1969). It is not a principal or

a claim under which a Plaintiff may seek relief. And, even if the Plaintiff could

assert a claim under the “made whole” doctrine, it is inapplicable here. The court

cannot find one Alabama case, and Plaintiff does not cite to any, where the “made

whole” doctrine was applied outside the insurance/subrogation context. See, e.g.,

Ex parte State Farm and Casualty Co., 764 So. 2d 543, 545-46 (Ala. 2000); Wolfe

v. Alfa Mut. Ins. Co., 880 So. 2d 1163, 1167 (Ala. Civ. App. 2003); Guy v.

Southeastern Iron Workers’ Welfare Fund, 877 F.2d 37, 39 (11th Cir. 1989); Cagle

v. Bruner, 112 F.3d 1510, 1522 (11th Cir. 1997).




             in the absence of contrary statutory law or valid contractual
             obligations to the contrary, the general rule under the doctrine of
             equitable subrogation is that where an insured is entitled to receive
             recovery for the same loss from more than one source, e.g., the
             insurer and the tortfeasor, it is only after the insured has been fully
             compensated for all of the loss that the insurer acquires a right to
             subrogation, or is entitled to its subrogation rights. The rule applies
             as well to instances in which the insured has recovered from the
             third party and the insurer attempts to exercise its subrogation right
             by way of reimbursement against the insured’s recovery.

6 F. App’x 694, 702 (10th Cir. 2001) (quoting 16 Couch on Insurance 3d § 223:134 at 147–150
(2000)) (footnotes omitted).
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       To the extent Plaintiff relies on McMurtry, the court finds it to be inapposite.

In that case, McMurtry brought a bill of complaint in equity9 seeking to rescind the

sale of a vehicle that he purchased from Tiger Motor premised on a breach of an

express or implied warranty. The Alabama Supreme Court held that the plaintiff

could proceed in equity to rescind the sale of a vehicle because an action at law

would not have afforded him complete relief against the holder in due course of his

note and mortgage which had been assigned by Tiger Motor.10 224 So. 2d at 641.

       The present is distinguishable for numerous reasons. First, McMurtry does

not stand for the proposition that Plaintiffs may be awarded damages by the jury

and, if they are found to be inadequate, additional relief may be granted by the

court. That case simply holds that if a “remedy at law is difficult or doubtful or

inadequate, it is sufficient to give equity jurisdiction.” McMurtry, 224 So. 2d at

641. Second, Plaintiffs have not alleged how their remedies at law are inadequate,

difficult, or doubtful to attain so as to entitle them to additional equitable relief.


9
  McMurty was brought before the merger of the law and equity sides of Alabama courts.
Alabama did not authorize the merger of law and equity until September 17, 1971, Act No.
1311, Acts of Alabama 1971. This merger was not effective until July 3, 1973, by order of the
Supreme Court of Alabama of January 3, 1973, adopting the Alabama Rules of Civil Procedures.
See Ala. R. Civ. P. 2; Ex parte Reynolds, 436 So. 2d 873, 875-76 (Ala. 1983). Prior to this
adoption, Alabama courts of equity and courts of law had different rules and parties had different
rights depending on the court. See, e.g., In re Greene, 248 B.R. 583, 607-08 (N. D. Ala. 2000)
(explaining the different interests of debtor/mortgagor’s interest in the property in law and equity
before the merger).
10
  McMurtry could not proceed against the holder of the note and mortgage because the language
of the contract precluded his defense against the holder for breach of warranty. Id.


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Accordingly, the court finds that Defendants’ motion to dismiss Plaintiffs’ claim

for equitable relief under the “made whole” doctrine is due to be granted.11

IV. CONCLUSION

       For the foregoing reasons, Defendants’ partial motion to dismiss is

GRANTED. Plaintiffs’ claims for (1) fraudulent misrepresentation/suppression,

including promissory fraud, (2) negligence, recklessness and negligence per se, and

(3) negligent hiring, training, supervision and retention are DISMISSED.

Additionally, Plaintiffs’ claim for equitable relief under the “made whole” doctrine

is DISMISSED. That being said, the court will allow Plaintiffs the opportunity to

amend their complaint to adequately state a cause of action for fraud.                      Any

amended complaint SHALL be filed within 14 days of this order.

       DATED, this 18th day of October, 2018.



                                             _________________________________
                                             JOHN E. OTT
                                             Chief United States Magistrate Judge




11
   To the extend Plaintiffs seek to use the “make whole” doctrine to overcome Defendants’
statute of limitations defense (see doc. 1-20 at ¶ 90), for the reasons discussed previously, they
are not entitled to any relief.
                                               16
